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            Certificate of Good Standing
    I, Peter G. Bolac, Secretary of the North Carolina State Bar, do hereby certify that


                             Frederick Evan Benz
                                        Bar # 49077


     was licensed to practice law by the State of North Carolina on August 28, 2015.
Said lawyer is presently an active member of the North Carolina State Bar and is eligible to

                              practice law in North Carolina.
 Said lawyer is not subject to a pending order of administrative or disciplinary suspension.

               Said lawyer's financial account with the State Bar is current.
       Therefore, said lawyer is in good standing with the North Carolina State Bar.
Given over my hand and the Seal of the North Carolina State Bar, this the 24th of February,

                                           2025.


                          Secretary of the North Carolina State Bar
